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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


MILE PEJCIC,

                 Plaintiff,

        v.                               Civil Action No. 19-cv-02437 (APM)

ANDREA M. GACKI, DIRECTOR OF
THE OFFICE OF FOREIGN ASSESTS
CONTROL, in her official capacity; and
THE OFFICE OF FOREIGN ASSETS
CONTROL,

                 Defendants.


                CONSOLIDATED REPLY IN SUPPORT OF
         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND
  OPPOSITION TO PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT
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                                         INTRODUCTION

       Plaintiff Mile Pejcic asks this Court to overturn the well-reasoned decision of the Office of

Foreign Assets Control (“OFAC”), made in the context of national security and foreign affairs,

that Plaintiff’s assets should remain blocked pursuant to the International Emergency Economic

Powers Act (“IEEPA”) and Executive Order No. (“EO”) 13219, as amended by EO 13304.

However, as explained in Defendants’ motion for summary judgment, OFAC reasonably

determined that Plaintiff has materially assisted, or provided financial or material support for,

Radovan Karadzic, a designated person and convicted war criminal, and has actively obstructed or

poses a risk of actively obstructing the Dayton Accords. See Mem. in Supp. of Defs.’ Mot. for

Summ. J. at 16-21, ECF No. 8-1 (“Defs.’ Mem.”). Defendants also explained that Plaintiff is not

entitled to any relief for his claim that OFAC’s decision on his delisting petition was unreasonably

delayed, as OFAC’s issuance of its denial decision mooted that claim, which in any event fails on

the merits. Id. at 11-16.

       Plaintiff’s response to Defendants’ motion does not establish otherwise. See Pl.’s Cross-

Mot. for Summ. J. & Opp’n to Defs.’ Mot. for Summ. J., ECF Nos. 24-25 (“Pl.’s Opp.”). First,

Plaintiff maintains that he is entitled to declaratory relief on his unreasonable delay claim, and that

his claim is not moot because such relief would guide future decision-making at the agency. Id. at

25-29. But declaratory relief as to Plaintiff’s claim would not adjudicate any present rights of the

parties and would therefore constitute an impermissible advisory opinion. Further, and especially

as there is no rule of reason to apply with respect to the timing of OFAC’s adjudication of

delisting petitions, Plaintiff cannot establish that any delay was unreasonable. See id. at 18-25.

       Second, Plaintiff claims that OFAC’s denial decision is arbitrary and capricious, primarily

because Karadzic has been arrested and so can no longer be assisted by Plaintiff. See id. at 30-38.

This argument, however, misapprehends the Executive Order that authorized Plaintiff’s initial


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designation. EO 13304 by its terms permits OFAC to designate individuals based on past conduct,

see EO 13304, § 1(a)(ii)(C)-(D), and Plaintiff has failed to demonstrate that the basis for his

designation—including his prior assistance to Karadzic—was insufficient. Nor has Plaintiff

established that his removal from the List of Specially Designated Nationals and Blocked Persons

(“SDN List”) is warranted based on a change of circumstances, particularly given his recent

conduct highlighted by the State Department in its foreign policy guidance. While Plaintiff may

disagree with OFAC’s reliance on that information, see Pl.’s Opp. at 34-37, his disagreement casts

no doubt on the reasonableness of the agency’s decision.

        Defendants’ motion for summary judgment should therefore be granted, and Plaintiff’s

cross-motion should be denied.

                                             ARGUMENT

        A.      Plaintiff’s Unreasonable Delay Claim Fails

                1.      Plaintiff’s Claim Is Moot

        Plaintiff maintains that OFAC unreasonably delayed its decision regarding his delisting

petition pursuant to 5 U.S.C. § 706(1). Pl.’s Opp. at 18-25. As Defendants explained, however,

that claim has been rendered moot by OFAC’s issuance of its denial decision. Defs.’ Mem. at 11-

13. That Plaintiff seeks declaratory rather than injunctive relief, see Pl.’s Opp. at 26, does not

compel a different conclusion.

        Under longstanding Supreme Court precedent, for declaratory relief to be effective, and

therefore not moot, the plaintiff must “still retain sufficient interests and injury as to justify the

award of declaratory relief. The question is ‘whether the facts alleged, under all the

circumstances, show that there is a substantial controversy, between parties having adverse legal

interests, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.’”

Super Tire Eng’g Co. v. McCorkle, 416 U.S. 115, 121-22 (1974) (citation omitted). “It has long


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been settled that a federal court has no authority ‘to give opinions upon moot questions or abstract

propositions, or to declare principles or rules of law which cannot affect the matter in issue in the

case before it.’” Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992) (quoting

Mills v. Green, 159 U.S. 651, 653 (1895)) (emphasis added). For a declaratory judgment request

to be effective, “there must be a dispute which calls, not for an advisory opinion upon a

hypothetical basis, but for an adjudication of present right upon established facts.” Ashcroft v.

Mattis, 431 U.S. 171, 172 (1977) (per curiam) (emphasis added, quotation omitted).

       The Supreme Court has expressly warned against granting declaratory relief based on past

actions that lack continuing effect. In Spencer v. Kemna, the Court made very clear that “[w]e are

not in the business of pronouncing that past actions which have no demonstrable continuing effect

were right or wrong.” 523 U.S. 1, 18 (1998). In direct contravention of Spencer, Plaintiff asks

this Court to pronounce that the timing of OFAC’s decision was “right or wrong,” despite the fact

that any alleged delay has “no demonstrable continuing effect” and instead “is now over, and

cannot be undone.” Id. at 8; see also Citizens Task Force on Timber Sales Review v. U.S. Forest

Serv., 894 F.2d 409, 1990 WL 4677, at *2 (9th Cir. Jan. 23, 1990) (unpublished) (cautioning that

declaratory judgments should not be used when they “lead to no practical resolution of a dispute

before the court”); Christopher P. v. Marcus, 915 F.2d 794, 802 (2d Cir. 1990) (“A litigant may

not use the declaratory judgment statute to secure judicial relief of moot questions.”); Action

Alliance of Senior Citizens of Greater Phila. v. Heckler, 789 F.2d 931, 943 n.15 (D.C. Cir. 1986)

(finding claim for declaratory relief concerning “past delay” moot and stating that “harm caused

by the past delay has been eradicated by the Secretary’s approval of the outstanding regulations”);

Gerlich v. DOJ, 659 F. Supp. 2d 1, 20 (D.D.C. 2009) (concluding that declaratory relief finding

defendants’ alleged past discrimination against job applicants unlawful “would not eliminate the




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alleged effects of this discrimination” and “would amount to an advisory opinion of the type that

Article III strictly prohibits”).

        Second, to the extent that Plaintiff contends that the requested declaratory relief would be

effective because it would “allow [him] to have any future request for delisting decided without

unreasonable delay,” Pl.’s Opp. at 27, he is mistaken. As noted above, the declaration requested is

a limited, retrospective one and would not be effective with respect to any hypothetical future

petition filed by Plaintiff, nor with respect to OFAC’s sanctions program generally. The

circumstances that might render OFAC’s adjudications “unreasonably delayed” are case-specific

and would necessarily differ from the circumstances that might arise in a hypothetical future

adjudication. See Ashcroft, 431 U.S. at 172; see also Pub. Serv. Comm’n of Utah v. Wycoff Co.,

344 U.S. 237, 246 (1952) (“[T]he declaratory judgment procedure will not be used to preempt and

prejudice issues that are committed for initial decision to an administrative body or special

tribunal any more than it will be used as a substitute for statutory methods of review.”); cf. Ass’n

of Am. Med. Coll. v. United States, 217 F.3d 770, 779-80 (9th Cir. 2000) (applying ripeness

doctrine to “protect the agencies from judicial interference until an administrative decision has

been formalized and its effects felt in a concrete way by the challenging parties,” and declining to

provide declaratory relief when “challenged agency actions are not final,” even where judicial

resolution “might aid the parties”). Similarly, Plaintiff’s desire to recover attorney’s fees, see Pl.’s

Opp. at 27, is not a basis to obtain declaratory relief; if Plaintiff cannot show an entitlement to a

declaratory judgment on the merits, he cannot be entitled to such a judgment solely as a basis to

recover fees. See SecurityPoint Holdings, Inc. v. TSA, 836 F.3d 32, 36 (D.C. Cir. 2016) (“In

determining whether a litigant is a prevailing party [under the Equal Access to Justice Act], we

apply a three-part test: (1) there must be a court-ordered change in the legal relationship of the

parties; (2) the judgment must be in favor of the party seeking the fees; and (3) the judicial


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pronouncement must be accompanied by judicial relief.” (internal quotation marks and citation

omitted)).

       The D.C. Circuit’s opinion in Conservation Force v. Jewell, 733 F.3d 1200, 1205-06 (D.C.

Cir. 2013), cited in Pl.’s Opp. at 27, is in accord. As Defendants have explained, Defs.’ Mem. at

13, in that case the D.C. Circuit theorized in dicta that a request for declaratory judgment might be

sufficient to overcome the mootness of a § 706(1) claim, but only where the plaintiff alleged a

pattern of unreasonable delay and the plaintiff has “standing to bring such a forward-looking

challenge[,]” Conservation Force, 733 F.3d at 1206. Plaintiff satisfies neither of these criteria.

His Amended Complaint does not allege that OFAC has a pattern, practice, or ongoing policy of

unreasonably delaying delisting decisions. See Am. Compl. ¶¶ 20-30, ECF No. 11. And while his

cross-motion and opposition to Defendants’ motion for summary judgment assert that “OFAC’s

pattern of delay, while not per se improper, should be considered,” Pl.’s Opp. at 24, “[i]t is

axiomatic that the Plaintiff cannot amend [his] Complaint by the briefs in support of or in

opposition to a motion for summary judgment.” Harrison v. Office of Architect of Capitol, 68 F.

Supp. 3d 174, 178 (D.D.C. 2014), aff’d, 793 F.3d 119 (D.C. Cir. 2015). As to standing, Plaintiff

may believe that (1) he might one day submit another delisting petition, (2) OFAC will deny his

petition, and (3) OFAC will unreasonably delay in reaching its decision; but that potential chain of

events “stacks speculation upon hypothetical upon speculation, which does not establish an ‘actual

or imminent’ injury.” N.Y. Reg’l Interconnect, Inc. v. FERC, 634 F.3d 581, 587 (D.C. Cir. 2011)

(quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)).

       In sum, the declaratory relief requested by Plaintiff would not constitute effective relief in

this case because it would be a judicial pronouncement regarding past agency action that has no

continuing effect. It would adjudicate no “present right” of the parties and would therefore




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amount to no more than an impermissible advisory opinion. Church of Scientology, 506 U.S. at

12. Accordingly, Count I is moot.

               2.      Plaintiff’s Claim Is Not Capable Of Repetition Yet Evading Review

       Plaintiff attempts to shoehorn his unreasonable delay claim into one of the limited

exceptions to the mootness doctrine, where the challenged conduct is capable of repetition yet

evading review. See Pl.’s Opp. at 28-29.1 That exception does not apply here.

       First, to be capable of repetition, there must be “a reasonable expectation that the same

complaining party would be subjected to the same action again.” Weinstein v. Bradford, 423 U.S.

147, 149 (1975) (per curiam). To meet this test, the plaintiff must show “not merely a ‘physical or

theoretical possibility’ of recurrence, but a ‘reasonable expectation’ if not a ‘demonstrated

probability’ that [he] will be subject to the same action.” Pub. Utilities Comm’n of Calif. v.

FERC, 236 F.3d 708, 714 (D.C. Cir. 2001). As noted above, Plaintiff can only speculate about

additional administrative proceedings before OFAC, the outcome of those proceedings, and how

long those proceedings will take. There is therefore no reason to conclude that the agency would

unreasonably delay in evaluating an as-yet unfiled delisting petition.

       Second, to evade review, the challenged action must be “in its duration too short to be fully

litigated” to the Supreme Court “prior to its cessation or expiration.” Newdow v. Roberts, 603

F.3d 1002, 1008 (D.C. Cir. 2010). Although “agency actions of less than two years’ duration”

generally “cannot be ‘fully litigated’ prior to cessation or expiration,” that rule of thumb applies

only “so long as the short duration is typical of the challenged action.” Del Monte Fresh Produce

Co. v. United States, 570 F.3d 316, 322 (D.C. Cir. 2009). That is not the case here; indeed,

Plaintiff emphasizes throughout his brief that OFAC’s decision-making process exceeded two


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 Plaintiff does not raise an argument based on the voluntary cessation exception to mootness. See
Pl.’s Opp. at 26-30.

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years. See Pl.’s Opp. at 7, 15, 18-20, 23, 29. Nor has Plaintiff presented evidence of how long it

typically takes for OFAC to decide delisting petitions. Cf. Grant v. Vilsack, 892 F. Supp. 2d 252,

257 (D.D.C. 2012).

       Additionally, in order to invoke this exception to mootness, “a plaintiff [must] make a full

attempt to prevent his case from becoming moot, an obligation that includes filing for preliminary

injunctions and appealing denials of preliminary injunctions.” Newdow, 603 F.3d at 1009; see

also People for the Ethical Treatment of Animals, Inc. v. U.S. Fish & Wildlife Serv., 59 F. Supp.

3d 91, 98 (D.D.C. 2014) (explaining that “a party contesting mootness must use every tool

available to it to prevent the case from becoming moot, in order to insure that application of the

capable of repetition, yet evading review exception truly is exceptional[,]” and rejecting the

argument that a plaintiff need not make such efforts “based . . . on their feeling that they would

lose”). Having failed to move for preliminary relief or for expedited consideration of his claims,

Plaintiff cannot now argue that Count I has evaded review. See Newdow, 603 F.3d at 1009-10.2

       Plaintiff’s reliance on Del Monte, 570 F.3d at 326-27, cited in Pl.’s Opp. at 28, is

misplaced. In that case, the plaintiff challenged OFAC’s delay in issuing a one-year export license

for agricultural commodities. Del Monte, 570 F.3d at 318-20. OFAC had established an

expedited process whereby the agency would grant the license within nine business days,

assuming the application satisfied regulatory requirements and other agencies did not object. Id. at

319-20. The plaintiff brought suit under § 706(1) after OFAC did not issue the license after more

than 100 days after the inter-agency referral, even though no other agency had objected. Id. at

320. The D.C. Circuit reversed the district court’s finding that the case was moot, holding that the

claim was capable of repetition yet evading review. Id. at 320-21. But unlike in Del Monte, here


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 Defendants also note that Plaintiff waited to seek delisting until 13 years after his designation,
and 6 years after the High Representative lifted the measures on him. See PEJCIC_0005.

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there are no regulatory deadlines that govern OFAC’s consideration of delisting petitions. Further,

by Plaintiff’s own admission, the time expended by OFAC in deciding such petitions far exceeds

the nine-day window at issue in Del Monte. And whereas in Del Monte OFAC announced that it

expected future delays in deciding licensing applications, 570 F.3d at 324, Plaintiff here can point

to no similar assertion by OFAC.

               3.      OFAC’s Decision Was Not Unreasonably Delayed

       Even if the Court were to reach the merits of Plaintiff’s § 706(1) claim—which it should

not—the Court should conclude that OFAC’s decision was not unreasonably delayed based on

application of the TRAC factors. See Telecommunications Research & Action Center v. FCC, 750

F.2d 70 (D.C. Cir. 1984) (“TRAC”).

       As to the first factor—whether the court can apply a rule of reason to OFAC’s delisting

process—Plaintiff contends that “[a] reasonable time for agency action is usually counted in

weeks or months, not years.” Pl.’s Opp. at 19 (citing In re Am. Rivers & Ida. Rivers United, 372

F.3d 413, 419 (D.C. Cir. 2004)). However, “cases in this Circuit have made clear that measuring

the delay by years alone cannot establish unreasonable delay.” Liberty Fund, Inc. v. Chao, 394 F.

Supp. 2d 105, 115 (D.D.C. 2005) (citation omitted); see also Sault Ste. Marie Tribe of Chippewa

Indians v. Bernhardt, 442 F. Supp. 3d 53, 86 (D.D.C. 2020) (three year delay not unreasonable);

Skalka v. Kelly, 246 F. Supp. 3d 147, 154 (D.D.C. 2017) (citing cases where delays of 5-10 years

were not unreasonable). And the type of highly discretionary decision at issue here—which

involves the gathering of sensitive information from sources around the world, as well as inter-

agency discussions and conclusions regarding national security and foreign affairs—indicates no

rule of reason applies. Cf. Holy Land Found. for Relief & Dev. v. Ashcroft, 219 F. Supp. 2d 57, 74

n.28 (D.D.C. 2002) (“Executive Branch decisions to designate an entity as a terrorist are complex

and involve significant political ramifications.”), aff’d, 333 F.3d 156 (D.C. Cir. 2003).


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        This case is also quite unlike the out-of-circuit decision in KindHearts for Charitable

Humanitarian Development, Inc. v. Geithner, 647 F. Supp. 2d 857 (N.D. Ohio 2009), on which

Plaintiff relies. See Pl.’s Opp. at 19. While the district court in that case stated that “OFAC has

engendered a delay of remarkable duration,” 647 F. Supp. 2d at 907, the delay at issue concerned

not an adjudication of a pending delisting petition, but rather the notice to the U.S.-based

charitable organization plaintiff about the reasons for its designation under OFAC’s terrorism

authorities.

        Plaintiff also cannot persuasively rely on decades-old dicta from the First Circuit. In

Kokajko v. FERC, 837 F.2d 524 (1st Cir. 1988), cited in Pl.’s Opp. at 19, the court denied the

plaintiff’s petition for a writ of mandamus to compel agency action. In doing so, the court noted

that “[b]ased on the materials submitted to us, for the most part, there appear to have been

relatively few periods of any significant length of unexplained agency inaction during the course

of proceedings.” Id. at 526. Even if the Court were to adopt this analysis in weighing the TRAC

factors, Plaintiff has failed to demonstrate that OFAC’s consideration of his petition involved a

“significant length of unexplained action.” He seems to believe, based on the access dates of

certain documents in the record, that “OFAC conducted no investigation into [his] delisting

request until November 20, 2019.” Pl.’s Opp. at 19; see also id. at 20. Plaintiff is mistaken. See

Decl. of Ripley Quinby ¶ 11, attached hereto (explaining that “[a]s early as June 2017, OFAC

began conducting research regarding Plaintiff in connection with his request for

reconsideration”).3 Similarly, Plaintiff claims that “OFAC only first requested information from

the State Department on December 2, 2019.” Pl.’s Opp. at 19. Not so; while OFAC formally

requested State’s foreign policy guidance on that date, OFAC was in regular communication with


3
  Defendants submit this explanatory declaration to provide further background and context
regarding OFAC’s decision-making process.

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the State Department well before then, including within a month of receiving Plaintiff’s delisting

petition. Quinby Decl. ¶ 9.

        Plaintiff next argues that this Court can discern a rule of reason because “[o]ther delisting

procedures take far less time to resolve.” See Pl.’s Opp. at 20. According to Plaintiff, “[t]he most

analogous example is the ISIL (Da’esh) and Al Qaeda sanctions regime that the United Nations

(‘UN’) Office of the Ombudsperson administers.” Id. But Plaintiff offers no basis to conclude

that the time it takes a foreign body to decide a delisting petition in the context of a foreign

proceeding provides a rule of reason to govern OFAC’s process, particularly as OFAC’s decision-

making is based on different criteria and evidence. Cf. Kadi v. Geithner, 42 F. Supp. 3d 1, 13

(D.D.C. 2012) (courts should be “reluctant to rely on the decisions of other countries based on

information that likely differed from the administrative record compiled by and available to

OFAC,” as “these decisions may have been reached under different standards of proof or review,

which further undermines any persuasiveness they would have”); accord Fulmen Co. v. OFAC,

No. CV 18-2949 (RJL), 2020 WL 1536341, at *7 (D.D.C. Mar. 31, 2020).

        With respect to the second TRAC factor, Plaintiff acknowledges that Congress has not

“provided a timetable or other indication of the speed with which it expects the agency to proceed”

in deciding delisting petitions, TRAC, 750 F.2d at 80. See Pl.’s Opp. at 21. The absence of a

statutory deadline is not, as Plaintiff maintains, “a neutral factor in this case[,]” Pl.’s Opp. at 22,

but instead weighs against a finding of unreasonable delay. See Ctr. for Sci. in the Pub. Interest v.

FDA, 74 F. Supp. 3d 295, 301-04 (D.D.C. 2014).

        The third and fifth TRAC factors, often considered together, concern “the nature and extent

of the interests prejudiced by delay,’ with particular concern for matters of ‘human health and

welfare,’” as compared to economic regulation. Mashpee Wampanoag Tribal Council, Inc. v.

Norton, 336 F.3d 1094, 1100 (D.C. Cir. 2003) (quoting TRAC, 750 F.2d at 80). Plaintiff argues


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that these factors weigh in favor of a finding of unreasonable delay because “[t]he harm to

[him]”—which arises from OFAC maintaining an order blocking his assets—“is not solely

economic.” Pl.’s Opp. at 22. But Plaintiff’s claim eviscerates the distinction that the D.C. Circuit

has drawn between economic and non-economic regulation; by Plaintiff’s reasoning, any

economic regulation could be construed as threatening human health and welfare. Nor can

Plaintiff persuasively argue that he has been prejudiced by any delay because he anxiously waited

for a decision and was “required . . . to engage counsel and pay the $400 filing fee and incur costs

for serving the summonses.” See Pl.’s Opp. at 24; see also id. at 29. Again, if such expenses were

sufficient under TRAC, these factors would tilt in favor of every represented litigant, regardless of

their individual circumstances or the government action at issue. Plaintiff cites no authority to

support such a broad theory, and Defendants are aware of none.

       As to the fourth factor—“the effect of expediting delayed action on agency activities of a

higher or competing priority[,]” TRAC, 750 F.2d at 80—Plaintiff argues that “[t]he administrative

record in this case contains no evidence [his] delisting request was delayed due to the high volume

of such requests or activities of a higher priority.” Pl.’s Opp. at 23. But there is no reason an

administrative record would include such information. The APA provides for courts to review

“the whole record or those parts of it cited by a party.” 5 U.S.C. § 706. As a general rule, “review

is to be based on the full administrative record that was before the [agency] at the time [it] made

[its] decision.” Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971). That

includes material that was “directly or indirectly considered by the . . . decisionmaker(s).” Pac.

Shores Subdivision Cal. Water Dist. v. U.S. Army Corps of Eng’rs, 448 F. Supp. 2d 1, 7 (D.D.C.

2006) (citation omitted). But it does not include “every potentially relevant document existing

within [the] agency,” id., nor “every scrap of paper that could or might have been created,”

TOMAC v. Norton, 193 F. Supp. 2d 182, 195 (D.D.C. 2002), aff’d sub. nom. TOMAC, Taxpayers


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of Mich. Against Casinos v. Norton, 433 F.3d 852 (D.C. Cir. 2006). Thus the administrative

record related to OFAC’s denial of Plaintiff’s delisting petition appropriately includes the

information directly or indirectly considered in making that decision—not an analysis of

competing demands on the agency’s resources.

       Plaintiff fares no better in claiming that this factor weighs in his favor because “[t]he

declaratory judgment sought by the first cause of action would not require OFAC to place Mr.

Pejcic’s case ahead of other applicants.” See Pl.’s Opp. at 23. Instead, according to Plaintiff, “it

would provide valuable guidance” to the agency. Id. Plaintiff’s argument—which concedes that a

declaratory judgment would have no effect on the parties and is based on a desire for the Court to

issue an advisory opinion—only highlights the fact that his claim is moot.4

       Finally, the sixth TRAC factor does not suggest that OFAC’s decision was unreasonably

delayed. That factor “allows the Court to weigh any alleged impropriety against the other factors

in the test.” Beyond Pesticides/Nat’l Coal. Against the Misuse of Pesticides v. Johnson, 407 F.

Supp. 2d 38, 41 (D.D.C. 2005). Plaintiff here does not allege any bad faith or impropriety by

OFAC. See Pl.’s Opp. at 24-25. Rather, he asserts that OFAC has engaged in a “pattern of

delay,” which he characterizes as “not per se improper.” Id. at 24. Given Plaintiff’s concession

that OFAC has not engaged in any impropriety, there is nothing for this Court to weigh against the

other factors.

       Further, Plaintiff is incorrect that “OFAC has made a practice of delaying its decisions on

delisting requests, only to issue such decisions upon the filing of complaints in this Court.” See

Pl.’s Opp. at 24. While it is true that OFAC has on occasion decided delisting petitions after the



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  Plaintiff relies on In re Public Employees for Envtl. Responsibility, 957 F.3d 267, 275 (D.C. Cir.
2020), cited in Pl.’s Opp. at 23, but the court in that case did not simply issue a declaratory
judgment. That precedent therefore offers no support to Plaintiff.

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filing of a lawsuit, see id. at 24-25, such limited anecdotal evidence is insufficient to establish an

agency practice. Indeed, Plaintiff fails to mention that OFAC frequently grants and denies

delisting petitions in the absence of litigation. See, e.g., Compl., Dkt. No. 1, Fulmen Co. v. OFAC,

No. 1:18-cv-2949 (D.D.C. Dec. 14, 2018) (challenging previously issued denial of delisting

petition); OFAC, Kingpin Act Designations, Designations Removals, and Designation Update

(Aug. 25, 2020);5 OFAC, Venezuela-Related Designations and Designations Removals; Issuance

of Venezuela-Related General License and Frequently Asked Question (June 18, 2020);6 OFAC,

Syria-Related Designation; Syria Designations Removals; Global Magnitsky Designation

Removal; Foreign Sanctions Evaders Determination Removal (March 17, 2020).7

         Plaintiff also relies on Zevallos v. Obama, 10 F. Supp. 3d 111, 123-24 (D.D.C. 2014),

aff’d, 793 F.3d 106 (D.C. Cir. 2015), cited in Pl.’s Opp. at 25, but that case is of no help to him.

In Zevallos, the plaintiff submitted a delisting petition in July 2009, which had not been acted

upon by March 2013, when the plaintiff filed suit. Id. at 115-16. OFAC denied the petition in

June 2013, nearly three months after the complaint was filed and almost four years after the

petition was originally submitted. Id. at 116. But the court did not find that OFAC unreasonably

delayed its decision. See id. at 123. Rejecting the plaintiff’s § 706(1) challenge, the court

reasoned that “[a]ll this Court can do is compel agency action unreasonably delayed, i.e., compel

OFAC to issue a decision—which it has already done.” Id. at 123 (internal ellipsis and quotation

marks omitted); see also id. (“Though that is not the result Mr. Zevallos hoped for, it is still a

decision.”). Moreover, Plaintiff misconstrues Zevallos in claiming that “[t]he Court noted that the



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    https://www.treasury.gov/resource-center/sanctions/OFAC-Enforcement/Pages/20200825.aspx
6
    https://www.treasury.gov/resource-center/sanctions/OFAC-Enforcement/Pages/20200618.aspx
7
    https://home.treasury.gov/policy-issues/financial-sanctions/recent-actions/20200317

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delay was ‘troubling.’” See Pl’s. Opp. at 25. As that decision makes clear, the court was troubled

by “three years of radio silence from OFAC[.]” 10 F. Supp. 3d at 130. Plaintiff here cannot make

a similar claim, especially as his request was fully adjudicated in less than that time. See also Pl.’s

Opp. at 13-14 (noting that OFAC “acknowledged receipt of the request” for delisting within four

days, and that the agency provided a questionnaire to Plaintiff within three months of his request).

        Additionally, the presumption of regularity attaches to OFAC’s decisions and its

compilation of administrative records, and Plaintiff bears the burden of rebutting that presumption.

See United States v. Chem. Found., 272 U.S. 1, 14-15 (1926) (“The presumption of regularity

supports the official acts of public officers, and, in the absence of clear evidence to the contrary,

courts presume that they have properly discharged their official duties.”); Hercules, Inc. v. EPA,

598 F.2d 91, 123 (D.C. Cir. 1978) (explaining that “[e]xcept in cases where there is no

accompanying explanation of the reasons underlying an [agency’s] decision, . . . [a] strong

presumption of regularity supports the inference that when administrative officials purport to

decide weighty issues within their domain they have conscientiously considered the issues,” and

“[t]his presumption can be overcome, and further explication can be required of the

decisionmaker, only upon a strong showing of bad faith or improper behavior.” (internal quotation

marks and citations omitted));8 Stand Up for California! v. U.S. Dep’t of Interior, 71 F. Supp. 3d

109, 116 (D.D.C. 2014) (discussing “the ‘strong presumption’ that an agency has properly

compiled the entire record of materials that it considered, either directly or indirectly, in making

its decision”).

        Plaintiff has failed to carry that burden here. His insinuation that OFAC is resolving

delisting petitions for reasons not stated in the records is patently insufficient, see Holy Land


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  As a corollary to this rule, “it generally is ‘not the function of the court to probe the mental
processes’ of an agency decisionmaker.” Hercules, 598 F.2d at 123 (citation omitted).

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Found., 219 F. Supp. 2d at 65-66 (rejecting argument that “OFAC’s redesignation of HLF as a

terrorist was a ‘sham,’” where plaintiff offered only speculation that OFAC considered extra-

record evidence and where plaintiff failed to provide factual basis for allegations of bad faith).

And to reiterate, the agency’s investigations involve more than considering correspondence from

designated individuals; rather, to fulfill its mission, OFAC must be able to gather and evaluate

additional evidence, determine the consequences of its actions on the national security and foreign

policy interests of the United States, and only then be positioned to respond to petitioners seeking

delisting. See Holy Land Found., 219 F. Supp. 2d at 74 n.28. Further, insofar as Plaintiff is

complaining that acting on his delisting petition has prevented the Court from reaching the merits

of his § 706(1) claim, Plaintiff elides the fact that he is responsible for the timing of the filing of

the petition, as well as the timing of his lawsuit and his decision to amend his Complaint; Plaintiff

could have waited to bring suit against OFAC until after it resolved his pending delisting petition,

or he could have attempted to litigate his original Complaint even after OFAC reached its

decision. His decision not to do so cannot give rise to an inference adverse to OFAC. See Holy

Land Found., 333 F.3d at 160 (upholding re-designation decision under the APA, even though

OFAC issued that decision after challenge to initial designation); Zevallos, 10 F. Supp. 3d at 123-

25 (finding § 706(1) claim moot and evaluating merits of subsequently issued agency decision,

without indicating that acting on petition was improper).

        B.      OFAC’s Denial Of Plaintiff’s Delisting Petition Resulted From Reasoned
                Decision-making

        As detailed in Defendants’ motion, OFAC reasonably concluded that Plaintiff should

remain on the SDN List based on the evidence before the agency. Defs.’ Mem. at 16-21. This

conclusion is entitled to substantial deference. E.g., Islamic Am. Relief Agency v. Gonzales, 477

F.3d 728, 734 (D.C. Cir. 2007) (“[O]ur review—in an area at the intersection of national security,



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foreign policy, and administrative law—is extremely deferential.” (citations omitted)); Zarmach

Oil Servs., Inc. v. U.S. Dep’t of the Treasury, 750 F. Supp. 2d 150, 155 (D.D.C. 2010) (“[C]ourts

owe a substantial measure of ‘deference to the political branches in matters of foreign policy,’

including cases involving blocking orders” (citation omitted)).

       Plaintiff raises two arguments in response. First, he claims that the circumstances resulting

in his designation are no longer applicable. Pl.’s Opp. at 30-34. Second, according to Plaintiff,

the Court should set aside OFAC’s decision because “[h]onoring fallen soldiers does not warrant

OFAC sanctions.” Id. at 34-37. Each of these arguments is based on a misunderstanding of

OFAC’s decision. And because Plaintiff cannot “show that the ‘rationale’ behind his original

designation ‘was never true or is no longer true[,]’” see Joumaa v. Mnuchin, 798 F. App’x 667,

668 (D.C. Cir. 2020) (citation omitted), the Court should enter summary judgment in favor of the

government with respect to Count II.

               1.      OFAC Carefully Considered The Evidence Before The Agency And
                       Articulated A Rational Connection Between The Evidence And Its
                       Conclusion

       EO 13219, as amended by EO 13304, permits OFAC to designate persons determined (1)

“to have actively obstructed, or pose a significant risk of actively obstructing . . . the Dayton

Accords . . .”; or (2) “to have materially assisted in, sponsored, or provided financial, material, or

technological support for, or goods or services in support of, such acts of violence or

obstructionism or any person listed in or designated pursuant to this order.” EO 13304,

§ 1(a)(ii)(C)-(D). In Plaintiff’s view, “his designation should be removed now that Karadzic had

been arrested, tried, convicted, and sentenced.” Pl.’s Opp. at 31; see also id. at 32. In other

words, Plaintiff essentially argues that OFAC cannot rely on the aforementioned provisions of the

Executive Order unless it determines that he is engaged in ongoing, sanctionable conduct. But

that interpretation cannot be reconciled with the plain text of the Executive Order, which expressly


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contemplates designations based on past conduct, and it is also reasonable that such information

would inform how OFAC determines to take action with respect to any designation. See EO

13671, § 1(a)(ii)(C)-(D) (allowing designation of persons who “have” engaged in certain actions).

       Plaintiff is also incorrect in arguing that “OFAC never explained why the facts that led to

Mr. Pejcic’s designation in 2004 supported his continued designation in 2019 in light of

Karadzic’s arrest.” See Pl.’s Opp. at 32. To the contrary, OFAC’s letter to Plaintiff’s counsel and

its denial memorandum explain why Plaintiff has not established that his removal from the SDN

List is warranted.9 First, Plaintiff failed to demonstrate that he did not provide material assistance

to Karadzic, or that he did not actively obstruct or pose a risk of obstructing the Dayton Accords,

see PEJCIC_0001, PEJCIC_0008-09 (noting the High Representative’s imposition of sanctions

and removal of Plaintiff from public office due to his support for Karadzic and obstruction of the

peace process, and Plaintiff’s arrest by the NATO Stabilization Forces for allegedly engaging in

activities contrary to the Dayton Accords, including providing support to Karadzic); id. at

PEJCIC__0010 (noting that Plaintiff was among a small group of core Karadzic supporters during

a 13-year manhunt for him); see also id. at PEJCIC_0120_002 (“PEJCIC was responsible for the

security of KARADZIC during the war. . . . PEJCIC is the key person in BIJELJINA pulling

strings in order to protect KARADZIC[.]”). Further, and based on foreign policy guidance from

the State Department, OFAC concluded that Plaintiff continues to “pose a significant risk of active

obstruction[.]” PEJCIC_0010; see also PEJCIC__0123_001-04. This risk is far from speculative,

given evidence that Plaintiff (1) “has failed to distance himself from the legacy of wartime Serbian



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  The evidence discussed below is based on the unclassified administrative record. OFAC
respectfully refers the Court to pages PEJCIC_0013-14 of the record and the classified exhibits
cited therein (Exhibits 20-21) as well as pages PEJCIC_0105-06 and the classified exhibits cited
therein (Exhibits E-O) for a description of the classified information considered by OFAC for both
the 2004 designation and the 2019 denial of the delisting petition.

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Democratic Party (SDS) leaders and continues to lionize them and members of the Janja

Detachment in which he served”; and (2) serves as a leader of an organization in Bijeljina that

“annually celebrates the Day of Defense of the City, promoting an alternative narrative regarding

the Serb takeover of the city in late March – early April 1992,” where such alternative narratives

“risk a resurgence that undermines the international community’s work to advance the rule of law

in Bosnia and Herzegovina.” PEJCIC_0010 (citing PEJCIC_0123_003); see also Trump v.

Hawaii, 138 S. Ct. 2392, 2422 (2018) (“[T]he Executive’s evaluation of the underlying facts is

entitled to appropriate weight, particularly in the context of litigation involving ‘sensitive and

weighty interests of national security and foreign affairs.’” (quoting Holder v. Humanitarian Law

Project, 561 U.S. 1, 33-34 (2010))). Thus, regardless of whether Karadzic “c[an] no longer evade

arrest,” see Pl.’s Opp. at 32, the record amply supports OFAC’s conclusion that Plaintiff still

meets the criteria for designation, namely that he materially assisted in, or provided financial or

material support for Karadzic, and that he actively obstructed or poses a risk of actively

obstructing the Dayton Accords. See PEJCIC_0007.

       Similarly, Plaintiff asserts that “OFAC[] fail[ed] to engage with [his] non-frivolous

argument” that his designation was no longer warranted in light of Karadzic’s arrest. See Pl.’s

Opp. at 32. But Plaintiff concedes that “[t]he denial memorandum shows that OFAC was well

aware that this was Mr. Pejcic’s principal contention.” Id. at 31. As stated therein, OFAC

acknowledged Plaintiff’s argument that “[Karadzic’s] case is now over, and there is no reason why

the sanctions on [Plaintiff] should not now be removed.” PEJCIC_0005. Nevertheless, after

“carefully considering the information and arguments submitted by” Plaintiff and other

information available to the agency—including that described above—OFAC determined that

Plaintiff’s designation was still warranted. PEJCIC_0006. Thus OFAC has articulated a “rational

connection between the facts found and the choice made[,]” in accordance with the APA’s


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requirements. See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983) (citation omitted); see also id. (“We will, however, uphold a decision of less

than ideal clarity if the agency's path may reasonably be discerned.”); Frizelle v. Slater, 111 F.3d

172, 176 (D.C. Cir. 1997) (“[A]n agency’s decision [need not] be a model of analytic precision to

survive a challenge.”).

       The cases cited by Plaintiff, see Pl.’s Opp. at 32-33, do not bolster his argument. For

instance, in Cooper v. United States, 285 F. Supp. 3d 210, 216 (D.D.C. 2018), cited in Pl.’s Opp.

at 32, the court held that an agency violated the APA because it “did not acknowledge the

authorities cited by Plaintiff, and the court cannot discern on what basis the Board rejected his

argument[.]” By contrast, here OFAC has acknowledged Plaintiff’s argument, PEJCIC_0005, and

the basis for its denial decision is presented in its memorandum, namely that Plaintiff “continues

to meet the criteria for designation pursuant to the Order and has not demonstrated that the

circumstances resulting in the designation no longer apply.” PEJCIC_0012.

       Plaintiff also appears to rely on Zevallos, 10 F. Supp. 3d at 122, and Joumaa v. Mnuchin,

No. CV 17-2780 (TJK), 2019 WL 1559453 (D.D.C. Apr. 20, 2019), cited in Pl.’s Opp. at 32, for

the proposition that OFAC must identify ongoing, sanctionable conduct to maintain his

designation.10 Neither case so held; and in any event, the evidence relied on by OFAC indicates

that Plaintiff continues to engage in troubling conduct that poses a significant risk of obstructing

the Dayton Accords. PEJCIC_0009-10; PEJCIC_0123_003-04.




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   Both of those cases involved designations under the Foreign Narcotics Kingpin Designation
Act, which authorizes designation based on, inter alia, “materially assisting in, or providing
financial or technological support for or to, or providing goods or services in support of, the
international narcotics trafficking activities of a significant foreign narcotics trafficker”; or “acting
for or on behalf of[] a significant foreign narcotics trafficker[.]” 21 U.S.C. § 1904(b)(2)-(3).

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       Also inapposite is Epsilon Electronics, Inc. v. U.S. Department of the Treasury, 857 F.3d

913, 928 (D.C. Cir. 2017), cited in Pl.’s Opp. at 33. In that case, the Circuit Court faulted OFAC,

in assessing a monetary penalty, for not adequately explaining how it treated particular evidence

that was susceptible to multiple inferences. Epsilon Elecs., 857 F.3d at 928. Plaintiff’s situation is

not remotely analogous; the agency has accepted as true the information regarding Karadzic’s

arrest, and the denial memorandum explains that Plaintiff’s designation is not contingent upon that

fact. PEJCIC_0005-06. Additionally, DHS v. Regents of the University of California, 140 S. Ct.

1891 (2020), cited in Pl.’s Opp. at 33, is even further removed from the facts of this case. In

Regents, the Supreme Court held that the agency failed to consider a particular option and thus

failed to abide by the APA’s requirements. Id. at 1913. Here, on the other hand, OFAC plainly

considered both options presented—to grant or deny Plaintiff’s petition—as well as information

about Karadzic’s arrest, the removal of sanctions by the High Representative, and other evidence

available to the agency. PEJCIC_0005-06; see also supra at 10 (explaining that OFAC may

maintain sanctions regardless of a foreign body’s decision as to a particular SDN).

       Finally, Plaintiff relies on this Court’s decision in Cigar Association of America v. FDA,

436 F. Supp. 3d 70, 89 (D.D.C. 2020), cited in Pl.’s Opp. at 34. Cigar Association of America

involved a challenge to an agency rulemaking, where “the agency asked for comments not only on

whether to regulate premium cigars at all but whether the various types of regulation set forth in

the Proposed Deeming Rule were appropriate for particular products.” Id. This Court ordered

remand because the agency failed to “explain not only why it decided to deem premium cigars—

i.e., why it selected Option 1 over Option 2—but also why the health warnings regime was

appropriate for the distinct category of premium cigars products.” Id. By contrast, OFAC

carefully considered all the information submitted by Plaintiff to support his delisting petition, as

well as other information available to the agency, and reasonably decided to deny Plaintiff’s


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request. PEJCIC_0006-12; PEJCIC_0030-33. Because an agency “need only state the main

reasons for its decision and indicate that it has considered the most important objections[,]” OFAC

has satisfied its obligations under the APA. See Simpson v. Young, 854 F.2d 1429, 1435 (D.C.

Cir. 1988).

                2. OFAC Appropriately Considered Information About Plaintiff’s Recent
                   Conduct

        Equally unavailing are Plaintiff’s arguments that OFAC cannot rely on information about

his failure to distance himself from the legacy of wartime SDS leaders, as well as his promotion of

an alternative narrative about the Serb takeover of Bijeljina. See Pl.’s Opp. at 34-37. First,

according to Plaintiff, OFAC improperly considered this information because it is “unrelated to

the reasons for the listing.” Id. at 35. But OFAC designated Plaintiff in part because he “actively

obstructed, or . . . posed a significant risk of actively obstructing, the . . . Dayton Accords[,]”

PEJCIC_0006; see also EO 13304, § 1(a)(ii)(C), and the State Department concluded that Pejcic’s

post-designation conduct poses a significant risk of active obstruction of the Dayton Accords.

PEJCIC_0123_003-04. Thus this information is plainly related to the reasons for the initial

designation.

        Also incorrect is Plaintiff’s assertion that OFAC cannot rely on this information because it

“has nothing to do with assisting Karadzic to evade arrest.” Id. at 35. Here, he conflates the

criteria for designation with the evidence that supports the agency’s determination that the criteria

are met. That is, OFAC designated Plaintiff for materially assisting, or providing financial or

material support for, Karadzic, and for actively obstructing or posing a risk of actively obstructing

the Dayton Accords. PEJCIC_0006. Evidence about Plaintiff’s specific assistance to Karadzic

demonstrates that OFAC’s decision to designate Plaintiff was reasonable, and it provides

important context for OFAC to evaluate his delisting petition. Cf. Joumaa, 2019 WL 1559453, at



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*8. But it does not define the universe of evidence that OFAC may consider. Moreover,

Plaintiff’s interpretation is antithetical to the purpose of both EO 13304 and IEEPA, and would

unduly constrain the Executive Branch in matters of national security and foreign policy. See,

e.g., Dames & Moore v. Regan, 453 U.S. 654, 673 (1981) (“[Blocking] orders permit the President

to maintain the foreign assets at his disposal for use in negotiating the resolution of a declared

national emergency,” and “[t]he frozen assets serve as a ‘bargaining chip’ to be used by the

President when dealing with a hostile country.”); United States v. McKeeve, 131 F.3d 1, 10 (1st

Cir. 1997) (discussing the President’s “broad and flexible power” under IEEPA).

       Plaintiff next claims that his “remarks at memorial services for fallen soldiers or leadership

in a veterans organisation [sic] do not constitute an independent basis for imposing sanctions on

him.” Pl.’s Opp. at 35. OFAC, however, never claimed as much. Rather, OFAC relied on the

State Department’s assessment that such post-designation activities pose a significant risk of

actively obstructing the Dayton Accords. PEJCIC_0009-10; PEJCIC_0123_003-04. While

Plaintiff may disagree with that assessment, his personal views on this point do not undermine

OFAC’s decision. See Zevallos, 793 F.3d at 114 (“[W]e agree that much of this evidence could be

viewed in a light more beneficial to Zevallos. However, when we evaluate agency action, we do

not ask whether record evidence could support the petitioner’s view of the issue, but whether it

supports the [agency’s] ultimate decision.” (citation omitted)); see also Islamic Am. Relief

Agency, 477 F.3d at 734 (noting heightened deference in review of actions that lie “at the

intersection of national security, foreign policy, and administrative law,” and that court’s review of

such orders “is extremely deferential”). Nor is it relevant whether OFAC has previously

“sanctioned anyone in Bosnia, or anywhere in the world, for such conduct.” See Pl.’s Opp. at 35.

OFAC’s designation decisions are made on a case-by-case basis, with a view toward promoting

the national security and foreign policy interests of the United States; given the wide range of


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illicit behavior in which SDNs engage, it is unremarkable that OFAC’s designation decisions do

not all fit neatly into specific molds.

        Plaintiff next complains that “OFAC never gave [him] the opportunity to provide

information about these allegations.” Pl.’s Opp. at 36. But this argument is not properly before

the Court, as Plaintiff’s Amended Complaint does not challenge the notice provided by OFAC,

and Plaintiff cannot further amend his pleadings in his response to Defendants’ motion. See

Harrison, 68 F. Supp. 3d at 178. And in any event, having described to the extent possible the

factual findings on which it relied, OFAC has provided Plaintiff “with sufficient information

regarding the ‘basis’ for his designation such that he may meaningfully participate in the

reconsideration process.” See Rakhimov v. Gacki, No. CV 19-2554 (JEB), 2020 WL 1911561, at

*7 (D.D.C. Apr. 20, 2020), appeal dismissed, No. 20-5121, 2020 WL 4107145 (D.C. Cir. July 1,

2020). If Plaintiff wishes to provide additional information about these events, he is free to do so

through the administrative process. See id. (rejecting claim that OFAC failed to provide adequate

notice of the basis for its designation decision, and emphasizing that the plaintiff can continue to

submit information to the agency).

        Plaintiff then takes aim at OFAC’s decision-making process itself, but that argument

misses its mark. For instance, he again asserts that “OFAC only requested information on [his]

delisting request from the State Department on December 2, 2019[,]” and that “[i]ts inclusion in

the denial memorandum looks like an afterthought[.]” Pl.’s Opp. at 36. That assertion is simply

incorrect, see Quinby Decl. ¶¶ 9, 11, and is also insufficient to rebut the presumption of regularity

that attaches to OFAC’s decision, see supra at 14. Similarly, Plaintiff’s claim that the “timing”

associated with OFAC’s decision “indicates a lack of reasoned decision making on the part of

OFAC,” Pl.’s Opp. at 36, finds no basis in fact or law. To the contrary, this theory—unsupported

by a single citation to binding or persuasive authority—is untethered from the central question of


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whether the administrative record supports the agency’s decision. It also overlooks the fact that

Plaintiff is not privy to the inner workings of OFAC’s decision-making process, as it is well-

established that materials protected by the deliberative process privilege and attorney work-

product privilege are appropriately excluded from the administrative record. See, e.g., Stand Up

for California!, 71 F. Supp. 3d at 122. Thus merely because the Director of OFAC approved the

denial decision on a particular day does not imply that she was not briefed on OFAC’s analysis or

recommendations beforehand, or that OFAC reached its decision “in unreasonable haste[,]” see

Pl.’s Opp. at 36. To the contrary, “[d]uring the evaluation process, OGT briefed OFAC’s Director

on the status of the investigation on multiple occasions.” Quinby Decl. ¶ 11.

       Plaintiff concludes by asserting that he “was prejudiced” by OFAC’s reliance on this post-

designation information “because these allegations are untrue.” Pl.’s Opp. at 37. As discussed

above, however, Plaintiff’s disagreement with OFAC’s factual findings does not provide a basis to

seek relief under the APA. See supra at 22. And to reiterate, if Plaintiff disagrees with OFAC’s

findings or wishes to provide additional information, he may submit another delisting request to

the agency. See 31 C.F.R. § 501.807.

       Moreover, Plaintiff cannot establish that, even if OFAC erred in its analysis of some of the

evidence before it—which is not the case—such error was prejudicial. See 5 U.S.C. § 706

(requiring courts reviewing agency action to take “due account . . . of the rule of prejudicial

error”). Given the totality of evidence before the agency, any such error would be harmless and

therefore insufficient to warrant the relief sought by Plaintiff. See Zevallos, 793 F.3d at 114.

Accordingly, there is no basis to conclude that OFAC’s decision was arbitrary, capricious, or an

abuse of discretion under 5 U.S.C. § 706(2)(A).




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       C.      The Relief Sought By Plaintiff Is Improper

       Finally, Defendants explained in their motion that even if Plaintiff were able to succeed on

his arbitrary and capricious claim (which he cannot), he would not be entitled to an order

removing him from the SDN List, as he requests, Am. Compl. ¶ 26. See Defs.’ Mem. at 20-21.

Rather, remand is the appropriate remedy in an APA case such as this one. See, e,g., N. Air Cargo

v. U.S. Postal Serv., 674 F.3d 852, 861 (D.C. Cir. 2012); Palisades Gen. Hosp. Inc. v. Leavitt, 426

F.3d 400, 403 (D.C. Cir. 2005).

       In response, Plaintiff contends that the Court should nonetheless order his removal from

the SDN List because “the remedy of remand . . . would prejudice the interest of the injured

parties.” See Pl.’s Opp. at 38 (citing Am. Waterways Operator v. Wheeler, 427 F. Supp. 3d 95,

100 (D.D.C. 2019)). But in American Waterways Operator, the agency itself sought remand so

that it could consider certain cost-related information. 427 F. Supp. 3d at 97. Needless to say,

OFAC does not seek similar relief here. Further, in American Waterways Operator, this Court

denied the agency’s request in light of the prejudice to intervenors who undertook significant

environmental measures, and because “remand also will leave regulated parties uncertain as to

their compliance obligations.” Id. at 99-100. No similar interests are at stake here. Thus remand

is the only appropriate remedy, particularly as Plaintiff does not challenge the basis for OFAC’s

2004 designation decision. See Pl.’s Opp. at 13.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ motion, deny Plaintiff’s

cross-motion, and enter judgment in favor of Defendants.


Dated: September 17, 2020                             Respectfully submitted,

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